             Case 1:17-cr-02558-MV Document 17 Filed 09/25/18 Page 1 of 1




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW MEXICO
                                 ALBUQUERQUE
                             Before the Honorable Karen B. Molzen

                                United States Magistrate Judge

                                  Clerk’s Minutes –Detention

                                                   Case
Date:                   9/25/2018                                   CR 17-2558 MV
                                                   Number:
                                                                    Rio Grande
Case Title: USA v.      Arthur Perrault            Liberty:                      11:48 am
                                                                    @

Courtroom Clerk:        E. Romero                  Total Time:      37 min

                        D. Marrufo-Ramos & C.
Probation/Pretrial:                                Interpreter:     n/a
                        Duarte

ATTORNEYS PRESENT:

Plaintiff:     Holland Kastrin & Sean Sullivan     Defendant:     Sam Winder

PROCEEDINGS:

☐    Defendant waives Preliminary hearing

     Defense argues for release; Requests release to halfway house as recommended by
☒
     Pretrial Services.

☒    Government objects; Argues defendant is a flight risk and a danger to the community.

☒    Defendant remanded to the custody of the United States Marshal's Service

     Other: For the reasons stated on the record, the Court finds the defendant to be a
☒
     flight risk and a danger to the community.
